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UN|TED STATES DlSTRlCT COURT
MlDDLE DlSTRlCT OF PENNSYLVAN|A

ARTHUR KASPER, in his own
right and through his power of
attorney CHR|S BELL,

Piaintiff : civlL AchoN No. 3:17-1289
v. : (JchE MANNloN)

MlLFORD VALLEY
CONVALESCENT HOME, |NC.
dlbla MlLFORD HEALTHCARE
AND REHABlLlTAT|ON CENTER;
GUARD|AN LTC MANAGEMENT,
|NC. dlbla GUARD|AN ELDER
CARE,

Defendants

0 R D E R
Based upon the stipulation approved today this case shall be
Administrative|y Closed. Counsel shall inform the court should Arbitration be

unsuccessful and the case Wil| be reopened.

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M¢\L?>(c ` E MANNioN '~~»
United S tes District Judge

Date: October 17, 2017

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